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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS

Mario Humberto Garrido Puga,

               Plaintiff,                                   Case No. ___________________
                                                                     1:22-cv-2557

       v.
                                                            PLAINTIFF DEMANDS
                                      and                   TRIAL BY JURY

Vestido Couture LLC d/b/a Petalos Designs and
Maria I Hernandez
              Defendants.

                                         COMPLAINT

       Plaintiff, Mario Humberto Garrido Puga (“Plaintiff”), by and through their attorneys,

Daniel I. Schlade and James M. Dore, complain against Vestido Couture LLC d/b/a Petalos

Designs (“Defendant” or “PETALOS”) and Maria I Hernandez (“Defendant” or

“HERNANDEZ”). PETALOS and HERNANDEZ may collectively be referred to as

“Defendants”. In support of this Complaint, Plaintiff states:

                                            Introduction

1.     This action seeks redress for Defendants’ willful violations of the Fair Labor Standards

Act, 29 U.S.C. § 201 et seq. (“FLSA”), as well as any related state law claims, for Defendants’

failure to pay overtime wages owed.

                                              Parties

2.     Plaintiff is a resident of Chicago, Illinois; and he was employed by PETALOS and

HERNANDEZ.

3.     PETALOS is a business that is located, headquartered, and conducts business in

Bensenville, Illinois.
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4.     HERNANDEZ is the owner and Manager of PETALOS, and they are in charge of its

employees. On information and belief, HERNANDEZ is a resident of Stickney, Illinois.

5.     Defendants are “an enterprise engaged in commerce or in the production of goods for

commerce” under 29 USC § 203(s)(1)(A)(i) and (ii) because they have annual gross volume of

sales made or business done of at least $500,000; and because they are engaged in interstate

commerce or in the production of goods for interstate commerce. Additionally, they have more

than three employees.

                                     Jurisdiction And Venue

6.     The Court possesses subject matter jurisdiction over the FLSA claim(s) pursuant to 29

U.S.C. § 216(b) and 28 U.S.C. § 1331 (federal question), and 28 U.S.C. §1337; and supplemental

jurisdiction over any related state law claim(s) pursuant to 28 U.S.C. § 1367.

7.     Venue is proper in the NORTHERN District of Illinois because all underlying facts and

transactions occurred in or about Bensenville, Illinois.

                                  Facts Common To All Claims

8.     PETALOS is an “employer” as that term is defined in Section 203 of the FLSA, because it

is a privately owned for-profit entity.

9.     HERNANDEZ is an “employer” as that term is defined in Section 203 of the FLSA,

because: (1) they were Plaintiff’s head “boss” at PETALOS; (2) they had the power to hire and

fire the employees, including Plaintiff; (3) they supervised and controlled Plaintiff’s work

schedules and conditions of employment; (4) they determined the rate and method of payment for

employees; and (5) they maintained employment records.

                            COUNT I: VIOLATION OF THE FLSA
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10.    Plaintiff reincorporates by reference Paragraphs 1 through 9, as if set forth in full herein

for Paragraph 10.

11.    Plaintiff began working at PETALOS in or before April 2020 until on or about May 2022.

12.    At all times, Plaintiff held the same position at PETALOS, they were a generalist. Plaintiff

was an “employee” of Defendants as that term is used in Section 203 of the FLSA because he was

employed by Defendants to perform various tasks, and they do not fall into any of the exceptions

or exemptions for workers under the FLSA.

13.    Although schedules are subject to change, Plaintiff’s general schedule with Defendants

required Plaintiff to work on average 69 hours per week.

14.    Plaintiff was paid their wages on a(n) weekly basis.

15.    Plaintiff’s wages were not based on the number of jobs performed or completed, nor was

it based on the quality or efficiency of their performance.

16.    Plaintiff’s rate of pay was $450 per week.
17.    Throughout the course of Plaintiff’s employment with Defendants, Defendants regularly

scheduled and directed Plaintiff to work in excess of forty (40) hours per week.

18.    Defendants did not pay Plaintiff not less than one and a half (1.5) times the regular rate at

which he was employed during the hours worked in excess of forty (40) hours per week.

19.    On information and belief, Defendants have failed to keep proper time records tracking

Plaintiffs’ time worked; and Defendants’ failure and refusal to pay Plaintiff overtime wages for

hours worked in excess of forty (40) hours per week was a willful violation of the FLSA.

20.    Plaintiff is entitled to recover unpaid overtime wages and liquidated damages for up to

three (3) years prior to the filing of this lawsuit. On information and belief, this amount includes:

(i) $51,175.35 in unpaid overtime wages; (ii) liquidated damages of $51,175.35; and (iii) Plaintiff’s
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attorney’s fees and costs, to be determined. A calculation of Plaintiff’s damages are attached as

Exhibit A.

        WHEREFORE, Plaintiff Mario Humberto Garrido Puga respectfully requests that the

Court enter a judgment in their favor and against Defendants PETALOS and HERNANDEZ

jointly and severally, for:

A.      The amount of unpaid overtime wages for all time worked by Plaintiff in excess of forty

        (40) hours in individual work weeks, totaling at least $51,175.35;

B.      An award liquidated damages in an amount equal to at least $51,175.35;

C.      A declaration that Defendants violated the FLSA;

D.      An award reasonable attorneys’ fees and costs; and

E.      Any such additional or alternative relief as this Court deems just and proper.

                              COUNT II: VIOLATION OF IMWL

21.     Plaintiff incorporates by reference Paragraphs 1-20, as if set forth in full herein for this

Paragraph 21.

22.     This count arises from Defendants’ violation of the IMWL, by: failing to pay Plaintiff

Illinois mandated overtime wages for all hours worked in excess of 40 hours in each individual

work week in violation of 820 ILCS 105/4a(1).

23.     Defendant’s failure to pay Plaintiff the Illinois-mandated overtime wage rate for all hours

worked in excess of forty (40) hours in an individual work week is a violation of the IMWL.

24.     Pursuant to 820 ILCS 105/12(a), Plaintiff is entitled to recover unpaid overtime wages for

three (3) years prior to the filing of this suit, treble the amount of such underpayments, 5% for each

month the underpayments remain unpaid, plus attorney’s fees and costs.

25.     The amount of unpaid overtime wages owed to Plaintiff is $                       .
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        WHEREFORE, Plaintiff Mario Humberto Garrido Puga respectfully requests that the

Court enter a judgment in their favor and against Defendants PETALOS and HERNANDEZ

jointly and severally, for:

        A. The amount of wages worked by Plaintiff for which he was not paid overtime wages,

totaling at least $51,175.35;

        B. Award Statutory damages for Plaintiff, including treble damages and 5% monthly

interest, pursuant to the formula set forth in 820 ILCS § 105/12(a) and/or 815 ILCS § 205/2;

        C. Declare that Defendants have violated the IMWL;

        D. Award reasonable attorneys’ fees and costs as provided by the IMWL; and/or

        E. Grant such additional or alternative relief as this honorable court deems just and proper.



                                                                     Mario     Humberto       Garrido
Puga

                                                                     s/James M. Dore
                                                                     Attorney For Plaintiff
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James M. Dore (ARDC No. 6296265)
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                              PLAINTIFF DEMANDS TRIAL BY JURY
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       EXHIBIT A
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       Week       Av. Hours/Wk. Hours Over 40 Hrly. Wage   MW/Hr.   Unpaid MW   Unpaid OT   FLSA Liquidated   IMWL Treble
      5/3/2020          70           30          $6.43      $9.25    $197.40     $138.75       $336.15         $1,008.45
     5/10/2020          70           30          $6.43      $9.25    $197.40     $138.75       $336.15         $1,008.45
     5/17/2020          70           30          $6.43      $9.25    $197.40     $138.75       $336.15         $1,008.45
     5/24/2020          70           30          $6.43      $9.25    $197.40     $138.75       $336.15         $1,008.45
     5/31/2020          70           30          $6.43      $9.25    $197.40     $138.75       $336.15         $1,008.45
      6/7/2020          70           30          $6.43      $9.25    $197.40     $138.75       $336.15         $1,008.45
     6/14/2020          70           30          $6.43      $9.25    $197.40     $138.75       $336.15         $1,008.45
     6/21/2020          70           30          $6.43      $9.25    $197.40     $138.75       $336.15         $1,008.45
     6/28/2020          70           30          $6.43      $9.25    $197.40     $138.75       $336.15         $1,008.45
      7/5/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     7/12/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     7/19/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     7/26/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
      8/2/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
      8/9/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     8/16/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     8/23/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     8/30/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
      9/6/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     9/13/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     9/20/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     9/27/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     10/4/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     10/11/2020         70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     10/18/2020         70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     10/25/2020         70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     11/1/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     11/8/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     11/15/2020         70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     11/22/2020         70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     11/29/2020         70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     12/6/2020          70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     12/13/2020         70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     12/20/2020         70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
     12/27/2020         70           30          $6.43     $10.00    $249.90     $150.00       $399.90         $1,199.70
      1/3/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     1/10/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     1/17/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     1/24/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     1/31/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      2/7/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     2/14/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     2/21/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     2/28/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      3/7/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     3/14/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     3/21/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     3/28/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      4/4/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     4/11/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     4/18/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     4/25/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      5/2/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      5/9/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     5/16/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     5/23/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     5/30/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      6/6/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     6/13/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     6/20/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     6/27/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      7/4/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     7/11/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     7/18/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     7/25/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      8/1/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      8/8/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     8/15/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     8/22/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     8/29/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
      9/5/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     9/12/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     9/19/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     9/26/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     10/3/2021          70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     10/10/2021         70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     10/17/2021         70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     10/24/2021         70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
     10/31/2021         70           30          $6.43     $11.00    $319.90     $165.00       $484.90         $1,454.70
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     11/7/2021        70           30         $6.43    $11.00    $319.90     $165.00      $484.90      $1,454.70
     11/14/2021       70           30         $6.43    $11.00    $319.90     $165.00      $484.90      $1,454.70
     11/21/2021       70           30         $6.43    $11.00    $319.90     $165.00      $484.90      $1,454.70
     11/28/2021       70           30         $6.43    $11.00    $319.90     $165.00      $484.90      $1,454.70
     12/5/2021        70           30         $6.43    $11.00    $319.90     $165.00      $484.90      $1,454.70
     12/12/2021       70           30         $6.43    $11.00    $319.90     $165.00      $484.90      $1,454.70
     12/19/2021       70           30         $6.43    $11.00    $319.90     $165.00      $484.90      $1,454.70
     12/26/2021       70           30         $6.43    $11.00    $319.90     $165.00      $484.90      $1,454.70
      1/2/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
      1/9/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     1/16/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     1/23/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     1/30/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
      2/6/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     2/13/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     2/20/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     2/27/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
      3/6/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     3/13/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     3/20/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     3/27/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
      4/3/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     4/10/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     4/17/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     4/24/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
      5/1/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
      5/8/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     5/15/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     5/22/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
     5/29/2022        70           30         $6.43    $12.00    $389.90     $180.00      $569.90      $1,709.70
                    TOTALS        2070                          33,486.60   $17,688.75   $51,175.35   $153,526.05
